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                                                                      June 6, 2025
VIA ECF
The Honorable Lewis J. Liman
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1620
New York, New York 10007
       Re:       Lively et al. v. Wayfarer Studios LLC et al., No. 24 Civ. 10049 (LJL)
                 [rel. No. 25 Civ. 779]
Dear Judge Liman:
        Pursuant to Rules 1.D. and 2.K. of Your Honor’s Individual Rules, we write on behalf of
Leslie Sloane and Vision PR, Inc. (the “Sloane Parties”) regarding non-party Sara Nathan’s Motion
to Quash the Subpoena, filed June 3, 2025. ECF No. 269. The Sloane Parties respectfully request
that the Court adopt the following agreed-upon briefing schedule on the Motion:
             •   The Sloane Parties’ Response Brief: June 17, 2025;

             •   Sara Nathan’s Reply Brief: June 24, 2025.
       Counsel for Nathan consents to this request, and no prior request has been made for an
extension of these deadlines.
        Under Local Civil Rule 6.1(a) and Your Honor’s Individual Rules, the Sloane Parties’
current deadline to respond to the Motion is June 10, 2025, and Nathan’s current reply deadline is
June 12, 2025. The next scheduled appearance in this case is October 21, 2025.
        Accordingly, the Sloane Parties respectfully request that the Court adopt the proposed
briefing schedule.


                                                     Respectfully Submitted,
                                                      /s/ Sigrid S. McCawley
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                                                     and Vision PR, Inc.
